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                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WASHINGTON
 UNITED STATES OF AMERICA,                                           Case No.   1:20-CR-02048-SMJ-1
                                                                     CRIMINAL MINUTES
                                        Plaintiff,
        -vs-                                                         DATE:     AUGUST 24, 2021
                                                                     LOCATION: YAKIMA
 BRENDAN TAYLOR HULL,
                                        Defendant.                   SENTENCING HEARING


                                        Hon. Salvador Mendoza, Jr.
                                                                  Natalia Rivera
          Nicole Cruz                        01                                             Marilynn McMartin
                                                                 (for victim only)
      Courtroom Deputy                  Law Clerk                  Interpreter               Court Reporter
                     Benjamin Seal                                                   Jeremy Sporn
                 Government Counsel                                              Defense Counsel
 United States Probation Officer: Sean Carter

                [X] Open Court                  [    ] Chambers                   [ ] Teleconference

Defendant present, not in custody of the US Marshal.

Argument and recommendation by Mr. Seal; argument and recommendation by Mr. Sporn.
Defendant addresses the Court on his own behalf.
Statements by E.H., victim, through utilization of the Court’s Interpreter.
The Court accepts Presentence Investigation Report as submitted.

Imprisonment:               70 months

Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.

Court recommends placement at FCI Sheridan, Oregon.

Supervised Release:         3 years on standard and mandatory conditions, and the following special conditions:




[X] ORDER FORTHCOMING

 CONVENED:      2:37 P.M.       ADJOURNED:           3:15 P.M.     TIME:      0:38 HR.       CALENDARED       [ ]
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Sentencing Hearing

1. You must not communicate, or otherwise interact, with E.H., either directly or through someone else, without
first obtaining the permission of the probation officer. You must not enter the premises or loiter within 1000
feet of the victim’s residence or place of employment.

2. You must provide the supervising officer with access to any requested financial information and authorize the
release of any financial information. The probation office may share financial information with the U.S.
Attorney’s Office. You must disclose all assets and liabilities to the supervising officer. You must not transfer,
sell, give away, or otherwise convey any asset, without the advance approval of the supervising officer.

3. You must not incur any new debt, open additional lines of credit, or enter into any financial contracts,
without the advance approval of the supervising officer.

4. You must complete a mental health evaluation and follow any treatment recommendations of the evaluating
professional which do not require forced or psychotropic medication and/or inpatient confinement, absent
further order of the court. You must allow reciprocal release of information between the supervising officer and
treatment provider. You must contribute to the cost of treatment according to your ability to pay.

5. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a
probation officer, at a sensible time and manner, based upon reasonable suspicion of contraband or evidence of
violation of a condition of supervision. Failure to submit to search may be grounds for revocation. You must
warn persons with whom you share a residence that the premises may be subject to search.

6. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider,
enter into and successfully complete an approved substance abuse treatment program, which could include
inpatient treatment and aftercare upon further order of the court. You must contribute to the cost of treatment
according to your ability to pay. You must allow full reciprocal disclosure between the supervising officer and
treatment provider.

7. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch
testing, as directed by the supervising officer, but no more than 6 tests per month, in order to confirm continued
abstinence from these substances.

8. You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must
abstain from alcohol and must submit to urinalysis and Breathalyzer testing as directed by the supervising
officer, but no more than 6 tests per month, in order to confirm continued abstinence from this substance.

Fine:                     Waived
Special Assessment:       $100
Restitution:              $600

Appeal rights waived pursuant to the Plea Agreement previously executed by the defendant and filed.

Court accepts the Plea Agreement which was deferred until sentencing in this matter.
